Case 2:22-cv-04355-JFW-JEM Document 443-3 Filed 12/22/23 Page 1 of 11 Page ID
                                 #:35962




                   EXHIBIT 2
   Case 2:22-cv-04355-JFW-JEM Document 443-3 Filed 12/22/23 Page 2 of 11 Page ID
                                    #:35963




ELM Solutions                                            The industry’s leading
                                                         analysis of law firm rates,

2022 Real Rate                                           trends, and practices




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        Case 2:22-cv-04355-JFW-JEM Document 443-3 Filed 12/22/23 Page 3 of 11 Page ID
                                         #:35964




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2    Real Rate Report | 2022                                                                                 wolterskluwer.com
       Case 2:22-cv-04355-JFW-JEM Document 443-3 Filed 12/22/23 Page 4 of 11 Page ID
                                        #:35965

Table of Contents - 2022 Real Rate Report

A Letter to Our Readers • 4                         Section III: Practice Area Analysis • 84

Report Use Considerations • 5                       •   Bankruptcy and Collections
                                                    •   Commercial
Section I: High-Level Data Cuts • 8                 •   Corporate: Mergers, Acquisitions, and
•   Partners, Associates, and Paralegals                Divestitures
•   Partners, Associates, and Paralegals by         •   Corporate: Regulatory and Compliance
    Practice Area and Matter Type                   •   Corporate: Other
•   Partners and Associates by City                 •   Employment and Labor
•   Partners and Associates by City and             •   Environmental
    Matter Type                                     •   Finance and Securities
•   Partners by City and Years of Experience        •   General Liability (Litigation Only)
•   Associates by City and Years of Experience      •   Insurance Defense (Litigation Only)
•   Partners and Associates by Firm Size and        •   Intellectual Property: Patents
    Matter Type                                     •   Intellectual Property: Trademarks
                                                    •   Intellectual Property: Other
                                                    •   Real Estate
Section II: Industry Analysis • 63
•   Partners, Associates, and Paralegals by         Section IV: In-Depth Analysis for Select
    Industry Group                                  US Cities • 172
•   Partners and Associates by Industry Group and
    Matter Type                                     •   Boston, MA
•   Basic Materials and Utilities                   •   Chicago, IL
•   Consumer Goods                                  •   Los Angeles, CA
•   Consumer Services                               •   New York, NY
•   Financials (Excluding Insurance)                •   Philadelphia, PA
•   Health Care                                     •   San Francisco, CA
•   Industrials                                     •   Washington, DC
•   Technology and Telecommunications
                                                    Section V: International Analysis • 191


                                                    Section VI: Matter Staffing Analysis • 221


                                                    Appendix: Data Methodology • 226




3   Real Rate Report | 2022                                                            wolterskluwer.com
       Case 2:22-cv-04355-JFW-JEM Document 443-3 Filed 12/22/23 Page 5 of 11 Page ID
                                        #:35966

A Letter to Our Readers
Welcome to the Wolters Kluwer ELM Solutions Real Rate Report®, the industry’s leading data-driven
benchmark report for lawyer rates.

Our Real Rate Report has been a relied upon data analytics resource to the legal industry since its
inception in 2010 and continues to evolve. The Real Rate Report is powered by the Wolters Kluwer ELM
Solutions LegalVIEW® data warehouse, which has grown to include $155B+ in anonymized legal data.

Last year, we launched our LegalVIEW Insights report series, which presented the first-of-its-kind legal
analysis of total outside spend, vendor counts, staffing ratios, and other matters. This year, LegalVIEW
Insights has gone even deeper into these issues and, together with the Real Rate Report, is a great tool to
benchmark performance and improve from there.

The legal services industry relies on internal analytics and the use of external data resources, such as the
LegalVIEW data warehouse, to support legal management strategies. The depth and details of the data in
the Real Rate Report enable you to better benchmark and make more informed investment and resourcing
decisions for your organization.

As with past Real Rate Reports, all of the data analyzed are from corporations’ and law firms’ e-billing and
time management solutions. We have included lawyer and paralegal rate data filtered by specific practice
and sub-practice areas, metropolitan areas, and types of matters to give legal departments and law firms
greater ability to pinpoint areas of opportunity. We strive to make the Real Rate Report a valuable and
actionable reference tool for legal departments and law firms.

As always, we welcome your comments and suggestions on what information would make this publication
more valuable to you. We thank our data contributors for participating in this program. And we thank you
for making Wolters Kluwer ELM Solutions your trusted partner for legal industry domain expertise, data,
and analytics and look forward to continuing to provide market-leading, expert solutions that deliver the
best business outcomes for collaboration among legal departments and law firms.




Sincerely,




Barry Ader
Vice President, Product Management and Marketing
Wolters Kluwer ELM Solutions




4   Real Rate Report | 2022                                                                 wolterskluwer.com
         Case 2:22-cv-04355-JFW-JEM Document 443-3 Filed 12/22/23 Page 6 of 11 Page ID
                                          #:35967

Report Use Considerations
2022 Real Rate Report
• Examines law firm rates over time
• Identifies rates by location, experience, firm size, areas of expertise, industry, and timekeeper role (i.e.,
  partner, associate, and paralegal)
• Itemizes variables that drive rates up or down

All the analyses included in the report derive from the actual rates charged by law firm professionals as
recorded on invoices submitted and approved for payment.

Examining real, approved rate information, along with the ranges of those rates and their changes over time,
highlights the role these variables play in driving aggregate legal cost and income. The analyses can energize
questions for both corporate clients and law firm principals.

Clients might ask whether they are paying the right amount for different types of legal services, while law firm
principals might ask whether they are charging the right amount for legal services and whether to modify their
pricing approach.


Some key factors¹ that drive rates²:
Attorney location - Lawyers in urban and major metropolitan areas tend to charge more when compared with
lawyers in rural areas or small towns.

Litigation complexity - The cost of representation will be higher if the case is particularly complex or time-
consuming; for example, if there are a large number of documents to review, many witnesses to depose, and
numerous procedural steps, the case is likely to cost more (regardless of other factors like the lawyer’s level
of experience).

Years of experience and reputation - A more experienced, higher-profile lawyer is often going to charge more,
but absorbing this higher cost at the outset may make more sense than hiring a less expensive lawyer who
will likely take time and billable hours to come up to speed on unfamiliar legal and procedural issues.

Overhead - The costs associated with the firm’s support network (paralegals, clerks, and assistants),
document preparation, consultants, research, and other expenses.

Firm size – The rates can increase if the firm is large and has various timekeeper roles at the firm. For example,
the cost to work with an associate or partner at a larger firm will be higher compared to a firm that has one to
two associates and a paralegal.




1 David Goguen, J.D., University of San Francisco School of Law (2020) Guide to Legal Services Billing Retrieved from:
  https://www.lawyers.com/legal-info/research/guide-to-legal-services-billing-rates.html
2 Source: 2018 RRR. Factor order validated in multiple analyses since 2010




5    Real Rate Report | 2022                                                                                             wolterskluwer.com
       Case 2:22-cv-04355-JFW-JEM Document 443-3 Filed 12/22/23 Page 7 of 11 Page ID
                                        #:35968


Section I:
High-Level
Data Cuts
All data and analysis based on
data collected thru Q2 2022




8   Real Rate Report | 2022                                                 wolterskluwer.com
          Case 2:22-cv-04355-JFW-JEM Document 443-3 Filed 12/22/23 Page 8 of 11 Page ID
                                           #:35969

Section I: High-Level Data Cuts                                 Partners, Associates, and
Partners, Associates, and Paralegals                            Paralegals
                                                                By Role
2022 — Real Rates
2022 - Real Rates                                                         Trend Analysis - Mean
                                 First                Third
Role                      n                Median                2022       2021       2020
                                Quartile             Quartile
Partner
                        10592     $430      $653      $969       $749       $738       $705

Associate
                        9930      $329      $485      $703       $546       $541       $503

Paralegal
                        4215      $150      $225      $325       $247       $244       $232




9   Real Rate Report | 2022                                                    wolterskluwer.com
        Case 2:22-cv-04355-JFW-JEM Document 443-3 Filed 12/22/23 Page 9 of 11 Page ID
                                         #:35970

Section I: High-Level Data Cuts                                           Cities
Cities By Matter Type                                                     By Matter Type

2022 — Real Rates for Associate & Partner
2022 - Real Rates for Associate and Partner                                          Trend Analysis - Mean
                                                     First               Third
City               Matter Type    Role        n                Median              2022    2021     2020
                                  Partner           Quartile            Quartile
Jackson MS         Litigation     Associate
                                              56      $55       $225     $250      $178    $203     $175

                   Non-Litigation Partner
                                              24     $315       $420     $485      $418    $394     $375

                                  Associate
                                              25      $55       $126     $255      $155    $125     $259

Kansas City MO     Litigation     Partner
                                              74     $413       $450     $556      $472    $450     $450

                                  Associate
                                              50     $252       $329     $385      $319    $316     $305

                   Non-Litigation Partner
                                              101    $411       $487     $615      $519    $487     $464

                                  Associate
                                              73     $250       $320     $385      $322    $312     $285

Las Vegas NV       Non-Litigation Partner
                                              20     $350       $425     $525      $440    $422     $432

                                  Associate
                                              11     $238       $267     $368      $301    $297     $282

Little Rock AR     Non-Litigation Partner
                                              11     $215       $215     $308      $264    $256     $298

Los Angeles CA     Litigation     Partner
                                              322    $516       $725    $1,045     $799    $739     $702

                                  Associate
                                              408    $400       $615     $855      $642    $606     $564

                   Non-Litigation Partner
                                              521    $596       $868    $1,201     $903    $902     $858

                                  Associate
                                              667    $441       $603     $845      $653    $712     $648

Louisville KY      Litigation     Partner


16   Real Rate Report | 2022                                                               wolterskluwer.com
       Case 2:22-cv-04355-JFW-JEM Document 443-3 Filed 12/22/23 Page 10 of 11 Page ID
                                        #:35971

Section I: High-Level Data Cuts                                            Cities
Cities By Years of Experience                                              By Years of Experience

2022 — Real Rates for Associate
2022 - Real Rates for Associate                                                       Trend Analysis - Mean
                                                     First               Third
City                Years of Experience       n                Median               2022    2021     2020
Indianapolis IN     7 or More Years                 Quartile            Quartile
Kansas City MO      3 to Fewer Than 7 Years
                                              15     $270       $325     $360       $318    $295     $283

                    7 or More Years
                                              28     $292       $334     $391       $333    $312     $302

Los Angeles CA      Fewer Than 3 Years
                                              63     $429       $595     $654       $556    $524     $488

                    3 to Fewer Than 7 Years
                                              144    $486       $688     $838       $662    $626     $530

                    7 or More Years
                                              171    $351       $550     $840       $600    $634     $586

Miami FL            3 to Fewer Than 7 Years
                                              19     $300       $360     $457       $380    $331     $313

                    7 or More Years
                                              36     $295       $450     $595       $460    $433     $385

Minneapolis MN      Fewer Than 3 Years
                                              11     $374       $405     $446       $408             $230

                    3 to Fewer Than 7 Years
                                              27     $340       $451     $510       $421    $358     $356

                    7 or More Years
                                              27     $423       $468     $585       $478    $438     $392

Nashville TN        7 or More Years
                                              12     $219       $245     $345       $282    $266     $262

New Orleans LA      3 to Fewer Than 7 Years
                                              12     $232       $243     $265       $261    $242     $245

                    7 or More Years
                                              18     $243       $312     $343       $306    $318     $294

New York NY         Fewer Than 3 Years
                                              142    $443       $622     $775       $629    $600     $652

                    3 to Fewer Than 7 Years



26   Real Rate Report | 2022                                                                wolterskluwer.com
       Case 2:22-cv-04355-JFW-JEM Document 443-3 Filed 12/22/23 Page 11 of 11 Page ID
                                        #:35972

Section I: High-Level Data Cuts                                         Cities
Cities By Years of Experience                                           By Years of Experience

2022 — Real Rates for Partner
2022 - Real Rates for Partner                                                       Trend Analysis - Mean
                                                  First               Third
City                 Years of Experience    n               Median               2022    2021     2020
Jackson MS           21 or More Years            Quartile            Quartile
Kansas City MO       Fewer Than 21 Years
                                           46     $400       $450     $537       $473     $411    $397

                     21 or More Years
                                           68     $440       $553     $658       $539     $497    $491

Las Vegas NV         Fewer Than 21 Years
                                           12     $284       $381     $495       $389     $349    $343

                     21 or More Years
                                           13     $350       $425     $515       $468     $456    $472

Los Angeles CA       Fewer Than 21 Years
                                           183    $533       $801    $1,075      $804     $797    $682

                     21 or More Years
                                           333    $550       $765    $1,133      $863     $842    $808

Memphis TN           Fewer Than 21 Years
                                           14     $288       $331     $380       $345     $317    $328

                     21 or More Years
                                           15     $355       $415     $425       $394     $382    $375

Miami FL             Fewer Than 21 Years
                                           57     $370       $450     $598       $490     $498    $443

                     21 or More Years
                                           104    $388       $581     $749       $584     $580    $536

Milwaukee WI         21 or More Years
                                           16     $302       $454     $613       $589     $515    $530

Minneapolis MN       Fewer Than 21 Years
                                           36     $470       $530     $607       $532     $486    $499

                     21 or More Years
                                           84     $507       $675     $796       $656     $620    $589

Nashville TN         Fewer Than 21 Years
                                           28     $375       $405     $535       $449     $405    $397

                     21 or More Years



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